Case 4:21-cv-00020-AW-MAF Document 1-1 Filed 01/12/21 Page 1 of 11

IN THE CIRCUIT COURT OF THE
SECOND JUDICIAL CIRCUIT, IN
AND FOR LEON COUNTY, FLORIDA

PHILLIP M. WISE,

Plaintiff, CASE NO. 2020-CA-
FLA BAR NO. 0539211
v.

STATE OF FLORIDA, DEPARTMENT
OF HEALTH,

Defendant.
/

COMPLAINT
Plaintiff, PHILLIP M. WISE, hereby sues Defendant, STATE OF FLORIDA,
DEPARTMENT OF HEALTH, and alleges:

NATURE OF THE ACTION

\, This is an action brought under Chapter 760, Florida Statutes, 42 U.S.C. §2000¢e ct
seq. and 42 U.S.C. §198 1a.

2. This is an action involving claims which are, individually, in excess of Fifteen
Thousand Dollars ($15,000.00), exclusive of costs and interest.

THE PARTIES

3. At all times pertinent hereto, Plaintiff, PHILLIP M. WISE, has becn a resident of
the State of Florida and was employed by Defendant. Plaintiff is a member of a protected class
because of his gender (male), and due to the fact that Plaintiff reported unlawful employment
practices and was the victim of retaliation thereafter.

4. At all times pertinent hereto, Defendant, STATE OF FLORIDA, DEPARTMENT

OF HEALTH, has been organized and existing under the laws of the State of Florida. At all times

Case 4:21-cv-00020-AW-MAF Document 1-1 Filed 01/12/21 Page 2 of 11

pertinent to this action, Defendants have been an "employer" as that term is used under the
applicable laws identified above.

5. Plaintiff has satisfied all conditions precedent to bringing this action in that Plaintiff
dual-filed three charges of discrimination - on or about May 10, 2018, on or about October 4, 2018,
and on or about November 7, 2018 - with the Florida Commission on Human Relations and Equal
Employment Opportunity Commission, has waited at least 180 days, as requested Right to Sue
letters, and is eligible to receive them. This action is timely filed thereafter.

STATEMENT OF THE ULTIMATE FACTS

6. Plaintiff was employed as a Registered Nurse with Defendant. His employment
began in January 2014, in Daytona Beach, Florida. His starting job title was Nurse Care
Coordinator (NCC), in the Brain and Spinal Cord Injury Program (BSCIP). He holds a Master of
Arts degree in counseling from Fayetteville State University. He also held a Certified Case
Manager (CCM) credential, a Certified Brain Injury Specialist (CBIS) credential, a Registered
Respiratory Therapy credential and license and, for a period of time, the Certified Passenger Safety
Seat Technician (CPST) credential.

7. During the course of his employment, he was subjected to repeated gender
discrimination, harassment and retaliation for opposing unlawful employment practices. The
discrimination harassment took place at the hands of, among other people, Linda Peterson, the
Director of Nursing in Daytona Beach; Sherry Buchman, Regional Nursing Director in
Jacksonville; Linda Bonitatis, the Regional Program Administrator in Jacksonville. Plaintiff
complained to multiple Human Resource officials, including Amy Graham, Chief Bureau of

Personnel and Human Resource Management and Deedee McGee, Equal Opportunity Manager,

2
Case 4:21-cv-00020-AW-MAF Document 1-1 Filed 01/12/21 Page 3 of 11

as well as George Mamak, an investigator with Defendant’s Office of Inspector General, all to no
avail.

8. While employed as a pediatric NCC, Plaintiff would get a referral, meaning
information that a child had been brain or spinal-cord injured, and would attempt to contact the
parents responsible for the child’s care. He would then make appointments to visit the family and
child in the hospital or at home. He covered seven counties, all the way from the East Coast of
Daytona Beach to the West Coast in citrus County. Plaintiff would mcet the child and family in
their home, and would do an assessment as to how the child could walk, talk, and how they were
otherwise functioning and appeared. Then he would attempt to find out what needs the child had.

9. For example, he would determine whether the child needed physical rehabilitation,
occupational rchabilitation, speech rchabilitation, and whether the child needed special
accommodation in school. In some cases, the school accommodations would be reflected or
captured in an Individualized Education Plan (TEP or a 504 plan). Plaintiff's goal was to call on
them at Icast every 45 days. The age range of his client base was between birth and age 18. When
the child turned 18, they would be transferred to the adult brain and spinal cord injury program
located in Orlando. Plaintiff also had a budget to provide for assistive devices such as ramps or
hand controls. Plaintiff would also, on a personal level and reflective of his professional demeanor,
provide inspiration to the children he visited. Plaintiff was uniquely able to relate to the needs of
his clients because his own wife is wheelchair-bound.

10. His first supervisor was Ann Wilson, Nursing Supervisor. Ms. Wilson oversaw
approximately seven nurses at the clinic where Plaintiff worked. They included, among others,

Lelgbray Wilson (UY nurse}. Dawn Star (educational consultant), Jennifer O’Connell (behavioral

3
Case 4:21-cv-00020-AW-MAF Document 1-1 Filed 01/12/21 Page 4 of 11

social worker), Kerri Harrelson (Medicaid social worker), Laverne Bell (social worker for HIV),
Ruth Brewster (clinical nurse), Sally Lucas (diabetic nurse), and Patricia Lloyd (LPN, clinic
nurse).

Il. After two years on the job, Plaintiff learned that the agency was going to do away
with the BSCIP program, and so he assumed a caseload in Medicaid, as a nurse care coordinator,
and then as a supervisor. Nonetheless, he continued to carry a caseload of brain and spinal cord
injury clients. And he scored 100% on both his work in the BSCIP program and at his clinic. The
change occurred because the authorities within DOH appeared to have decided that they were
going to restructure the program, and higher case managers who did not have RN credentials. At
all times, Plaintiff was volunteering to perform additional duties beyond his original assignments,
and to take additional cases beyond original expectations.

12. Plaintiff was promoted to Nursing supervisor - RN supervisor - in December 2016,
replacing his original supervisor, Ann Wilson. At this point, plaintiff's new supervisor was Judy
Ryan. The position came with a significant pay increase but not on par with comparable female
supervisors within the region nor state who did not simultaneously supervise both clinic and care
coordination. Plaintiff simultaneously held the position of Case Management supervisor, physical
clinic supervisor, behavioral clinic supervisor and later Medical Foster Care Supervisor. Plaintiff
remained in this job until he was forced out by the department on or about January 4, 2019. In a
staff meeting with nothing but females apart from Plaintiff, Lisa Bonitatis drew a chart for
everyone to see showing the organization without Plaintiffs position. She was announcing the
departure of Plaintiffin no uncertain terms, and without any prior warning to him. It was a stunning

display of cruelty and insensitivity. Plaintiff had worked hard in his job to excel for those who

4.
Case 4:21-cv-00020-AW-MAF Document 1-1 Filed 01/12/21 Page 5 of 11

depended on him - his disabled infants, toddlers, older children and teens. Plaintiff is a disabled
veteran and needs health insurance. He had injuries from service to his country, and he needed
healthcare. His wife is a quadriplegic who needs a new electric wheelchair every five years.

13. Plaintiff returned to his office after the meeting and burst into tears. Even one of his
coworkers approached him and said words to the effect of “Well, that was a pretty shitty thing for
them to do.”

14. At the point where he Icarned in a group meeting that his position was being
eliminated, there had been three Nursing Director positions open, now all filled by females. The
Care Manager positions went to a vendor. Plaintiff searched, and there were no jobs available.
They were all gone. Plaintiff continued to look for work and positions within the agency but was
unable to do so. And he was told his position would be climimated and gone by January 2019.
Plaintiff found another job eventually outside the agency, but the health insurance costs with the
new company were extraordinarily higher than he paid with Defendant.

15. | Upon information and belief, Plaintiff was the victim of gender discrimination and
retaliation. He was the victim of gender discrimination because he was provided no advance
warning of the elimination of his position, and available positions for which he was qualified had
been filled by females. The component of Defendant within which Plaintiff work, Children’s
Medical Services, is heavily dominated by females, and its senior management is exclusively or
nearly exclusively female.

16. Further, and prior to the elimination of Plaintiff's position, he had made multiple
complaints of discrimination and harassment within the agency. His complaints included

complaints of favoritism toward females employed by the agency or who were seeking

Ss
Case 4:21-cv-00020-AW-MAF Document 1-1 Filed 01/12/21 Page 6 of 11

employment by the agency. His first complaint was in October 2016. The substance of his
complaint at that ume included complaints of discrimination. On or about November 8, 2017,
Plaintiff emailed EEO employee Aldrin Sanders with a complaint of discrimination.

17. Unfortunately, Mr. Sanders, like other DOH employees purporting to investigate
and address Plaintiff's claims of discrimination, treated Plaintiff like a nuisance, and made a
number of comments that suggested Mr. Sanders was simply mocking Plaintiff. On or about
December 11, 2017, Linda Peterson came to his office and told Plaintiff that he was no longer the
Medical Foster Care Supervisor, and was forbidden from using that title.

18. Plaintiff's complaints continued into 2019. On June 17, 2019, he received a call out
of the blue from an Inspector General employee named Jacob Alexander. Alexander asked Plaintiff
to discuss jokes that Plaintiff had complained about. The jokes included jokes of a sexual nature,
which placed Plaintiff in an awkward position. If he laughed or reacted to the jokes, he might be
secn as a sexist male in a sea of female employees. Yct if he did not laugh, he would be ostracized
from those telling the jokes and laughing at them. Plaintiff explained the situation to Mr.
Alexander, and also told Mr. Alexander about a female nurse that had threatened him. During the
conversation, Mr. Alexander, clearly showing no interest in assisting Plaintiff, said that he could
make a decision and wrap up their investigation or Plaintiff could simply forget the whole thing.

19. Prior to his forced departure from the agency, Plaintiff had multiple conversations
with the Inspector General’s office, and with the human resources department. He was also
interviewed by Inspector Specialist of the Equal Employment Opportunity Section Michelle
Consalvi.

20. While employed, plaintiff also filed multiple Charges of Discrimination with the

©

Case 4:21-cv-00020-AW-MAF Document 1-1 Filed 01/12/21 Page 7 of 11

EEOC. He filed one on May 10, 2018. He filed an amended version complaint of discrimination
and discrimination in hiring and promotions on November 7, 2018. Among the positions for which
he was passed over in favor of less qualified females was a nursing director position in Daytona,
a nursing director position in Orlando, and a nursing consultant position. That was a telework
position. Plaintiff also lost out on a Safety Net position. In fact, Plaintiff evaluated the hiring
decisions of this unit and in sum, it appeared there had not been a male in the positions for as far
back as 15 years. There was a position for a nursing director in Jacksonville that Plaintiff, based
on prior discriminatory decision-making, saw as a futile opportunity and did not apply. Sometimes
the hiring requirements which would disqualify male applicants would be altered at the last minute,
and a female candidate to be chosen.

21. At points, it appeared interviewers were taken into account the fact that plaintiff
had engaged in protected activity by making complaints of discrimination.
Apart from the events and incidents described above, Plaintiff was treated discriminatory and
differential manner, as compared to females, and as compared to people who did not cxercise
protected rights to complaint of discrimination, in multiple ways. He was also subjected to a hostile
work environment, with frequent behaviors that included isolating and ignoring him and showing

open disrespect for him.

COUNTI
GENDER DISCRIMINATION
ADVERSE ACTION & HOSTILE WORK ENVIRONMENT
22. Paragraphs 1-21 are realleged and incorporated herein by reference.
23. This is an action against Defendant for discrimination based upon gender brought

Case 4:21-cv-00020-AW-MAF Document 1-1 Filed 01/12/21 Page 8 of 11

under Chapter 760, Florida Statutes and 42 U.S.C. §2000e et seq.

24. Plaintiff has been the victim of discrimination on the basis of Plaintiff's gender in
that Plaintiff was treated differently than similarly situated employees of Defendant who are
female and has been subject to hostility and poor treatment on the basis, at least in part, of Plaintiffs
gender.

25. Defendant is liable for the differential treatment and hostility towards Plaintiff
because it controlled the actions and inactions of the persons making decisions affecting Plainuff
or it knew or should have known of these actions and inactions and failed to take prompt and
adequate remedial action or took no action at all to prevent the abuses to Plaintiff. Furthermore,
Defendant knowingly condoned and ratified the differential treatment of Plaintiff as more fully set
forth above because it allowed the differential treatment and participated in same. Defendant's
known allowance and ratification of these actions and inactions actions created, perpetuated and
facilitated an abusive, hostile and offensive work environment within the meaning of the statutes
referenced above.

26. In essence, the actions of agents of Defendant, which were cach condoned and
ratified by Defendant, were of a gender-based nature and in violation of the laws set forth herein.

27. The discrimination complained of herein affected a term, condition, or privilege of
Plaintiff's continued employment with Defendant. The events set forth herein lead, at least in
part, to Plaintiffs actual or constructive termination.

28. Defendant's conduct and omissions constitutes intentional discrimination and
unlawful employment practices based upon gender in violation of Chapter 760, Florida Statutes,

and 42 U.S.C. §2000e et seq.

Case 4:21-cv-00020-AW-MAF Document 1-1 Filed 01/12/21 Page 9 of 11

29. As a direct and proximate result of Defendant's conduct described above, Plaintiff
has suffered emotional distress, mental pain and suffering, past and future pecuniary losses,
inconvenience, bodily injury, mental anguish, loss of enjoyment of life and other non-pecuniary
losses, along with lost back and front pay, interest on pay, bonuses, potential retirement benefits,

and other benefits.

COUNT IH
RETALIATION

30. Paragraphs 1-21 are hereby realleged and reincorporated as if set forth in full
herein.

32. Defendant is an employer as that term is uscd under the applicable statutes
referenced above.

33. The foregoing allegations establish a cause of action for unlawful retaliation after
Plaintiff reported unlawful employment practices adversely affecting him under 42 U.S.C § 2000e
et seq., and Chapter 760, Florida Statutes.

34. The foregoing unlawful actions by Defendant were purposeful.

35. Plaintiff voiced opposition to unlawful employment practices during his
employment with Defendant and was the victim of retaliation thereafter, as related in part above.

36. Plaintiff is a member of a protected class because he reported unlawful employment
practices and was the victim of retaliation thereafter. There is thus a causal connection between
the reporting of the unlawful employment practices and the adverse employment action taken

thereafter.
Case 4:21-cv-00020-AW-MAF Document 1-1 Filed 01/12/21 Page 10 of 11

37. As a direct and proximate result of the foregoing unlawful acts and omissions,

Plaintiff has suffered mental anguish, emotional distress, expense, loss of benefits, embarrassment,

humiliation, damage to reputation, illness, lost wages, loss of capacity for the enjoyment of life,

and other tangible and intangible damages.

38. As a direct and proximate cause of Plaintiffs protected activity, he has been

damaged, which damages include but are not limited to lost wages and other tangible job benefits

plus attorneys’ fees and costs, and every other kind of damage allowed by law. He has also

suffered emotional pain and suffering damages and other intangible damages that continue to day.

Plaintiff is also entitled to injunctive relicf.

WHEREFORE, Plaintiff demands judgment against Defendants for the following:

(b)

(c)

(d)
(e)
(f)
(g)

(a) An injunction restraining continuing violations of the laws;
Reinstatement to the same position that Plaintiff held before the retaliatory
personnel actions or to an cquivalent position, and/or instatement
(placement) into one or more of the jobs Plaintiff was wrongfully denied;
Reinstatement of full fringe benefits and seniority rights, to the extent such
were available to him;

Compensation for lost wages, benefits, and other remuneration;
Damages as allowed by law;

Attorney's fees, costs and cost of this action, and

Any other relief deemed just and proper under the circumstances.

DEMAND FOR TRIAL BY JURY

Plaintiff hereby demands a trial by jury on all issues herein that are so triable.

10

Case 4:21-cv-00020-AW-MAF Document 1-1 Filed 01/12/21 Page 11 of 11

DATED this 16th day of September, 2020.

Respectfully submitted,

/s/Jim Garrity

JIM GARRITY; GBN 121837
MARIE A. MATTOX, P.A.

310 East Bradford Road
Tallahassee, FL 32303
Telephone: (850) 383-4800
Facsimile: (850) 383-4801
ATTORNEYS FOR PLAINTIFF

14

